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    1   Ashley M. McDow (245114)
        John A. Simon (admitted Pro Hac Vice)
    2   Shane J. Moses (250533)
        FOLEY & LARDNER LLP                                                    FILED & ENTERED
    3   555 S. Flower St., 33rd Floor
        Los Angeles, CA 90071
    4   Telephone: 213.972.4500                                                      JAN 31 2020
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               smoses@foley.com                                                 Central District of California
    6                                                                           BY kaaumoanDEPUTY CLERK


    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,                          CHANGES MADE BY COURT
    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                             LOS ANGELES DIVISION
  12
                                                              Case No. 2:19-bk-14989-WB
  13        In re:                                            Jointly Administered:
                                                              2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                              Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                          ORDER APPROVING STIPULATION
  17                                                          BETWEEN THE DEBTORS AND AMAZON
            ■ All Debtors                                     LOGISTICS, INC. FOR LIMITED RELIEF
  18                                                          FROM THE AUTOMATIC STAY
            □ Scoobeez, ONLY
  19                                                          Hearing:
            □ Scoobeez Global, Inc., ONLY                     Date: February 4, 2020
  20        □ Scoobur LLC, ONLY                               Time: 10:00 a.m.
                                                              Place: Courtroom 1375
  21                                                          U.S. Bankruptcy Court, 255 East Temple Street
                                                              Los Angeles, CA 90012
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  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1              The Court having reviewed and considered the Stipulation Between the Debtors and Amazon
    2   Logistics, Inc. For Limited Relief From the Automatic Stay, filed on January 28, 2019 [Docket No. 567]
    3   the “Stipulation”), as between movant Amazon Logistics, Inc. (the “Movant”) and Scoobeez, Scoobeez
    4   Global, Inc. and Scoobur, LLC, the debtors in the above-captioned Chapter 11 bankruptcy cases
    5   (collectively, the “Debtors”), and the Notice of Motion and Motion for Relief from the Automatic Stay
    6   under 11 U.S.C. § 362 [Doc. No. 534], filed by the Movant on January 9, 2020 (the “Motion”), and good
    7   cause appearing therefor,
    8              IT IS HEREBY ORDERED that:
    9              1.     The Stipulation is approved.
  10               2.     The automatic stay is hereby modified to allow the State Court Action (as defined in the
  11    Stipulation), to proceed to final judgment, provided that the stay shall remain in effect with respect to
  12    enforcement of any judgment against the Debtor or property of the Debtors’ bankruptcy estates, except
  13    as to any applicable insurance coverage.
  14               3.     As to the State Court Action and claims based on the State Court Action, Movant waives
  15    any deficiency or other claim against the Debtors or property of the Debtors’ bankruptcy estates except
  16    as to recovery from applicable insurance.
  17               4.     To the extent that the Movant or the State Court Action plaintiff asserts a claim in the
  18    bankruptcy case for payment of any amounts or obligations related to the State Court Action that are not
  19    covered by applicable insurance, this Order is without prejudice to the Debtors’ rights to object to any
  20    such claim.
  21               5.     The scope of this Order is limited to the State Court Action and claims based thereon, and
  22    is without prejudice to the rights of the Parties as to any other matters.
  23               6.     Sufficient notice of the Movant’s motion having been provided, no further notice is
  24    required pursuant to F.R.B.P. 4001(d) or otherwise.
  25               7.     The automatic stay shall remain in effect except to the extent of the relief specifically
  26    granted herein.
  27               8.     The hearing on the Motion currently scheduled for February 4, 2020, at 10:00 a.m. shall
  28    be taken off calendar.

                                                     ORDER APPROVING STIPULATION FOR LIMITED RELIEF FROM STAY
                                                           -1-                         Case No. 2:19-bk-14989-WB
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    1              9.   The Court shall retain jurisdiction over any disputes arising from or related to this Order
    2   or the Stipulation.
    3   APPROVED AS TO FORM:
    4
          Dated: January 31, 2020                         MORGAN, LEWIS & BOCKIUS LLP
    5

    6
                                                          Richard W. Esterkin
    7
                                                          Attorneys for Amazon Logistics, Inc.
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  24           Date: January 31, 2020

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                                                                                         PleadingTitleShort
                                                                               Case No. 2:19-bk-14989-WB
                                                                                     Jointly Administered:
                                                         -2-         2:19-bk-14991-WB; 2:19-bk-14997-WB
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